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 1    Erin Ronstadt (SBN 028362)
      Jeremy Pekas (SBN 025678)
 2    Caldwell & Ober, P.L.L.C.
      1940 East Camelback Road, Ste. 150
 3    Phoenix, AZ 85016
      (602) 277-1745
 4    (602) 761-4443 Fax
      erin@caldwellober.com
 5    jeremy@caldwellober.com
 6    Attorneys for Plaintiff
 7                            IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE DISTRICT OF ARIZONA
 9
10
     Sharyn A. Medeiros,                                    Case No. CV-14-01129-PHX-JZB
11
                                        Plaintiff,
12                                                            NOTICE OF SETTLEMENT
     v.
13
     Wells Fargo & Company Long Term
14 Disability Plan, et al.,
15                                   Defendants.
16
17           Plaintiff Sharyn A. Medeiros hereby gives notice that the parties have settled all

18    disputes. The parties expect to submit a joint motion to dismiss and order of dismissal with

19    prejudice within the next 30 days.

20
             DATED this 23rd day of April, 2015.
21
22                                         CALDWELL & OBER, P.L.L.C.
23
24                                         By: s/ Erin Ronstadt     __________________
                                               Erin Ronstadt
25                                             Attorneys for Plaintiff
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                                                                                                    Case 2:14-cv-01129-JZB Document 43 Filed 04/23/15 Page 2 of 2


                                    1                                                                                                                                          CERTIFICATE OF SERVICE
                                                                                                                                                         I hereby certify that a true and correct copy of the foregoing Notice of Settlement
                                    2
                                                       was served on all counsel of record, as listed below, via CM/ECF on this 23rd day of
                                    3
                                    4
                                                       April, 2015:

                                    5
                                                                                                                                                                                     Iwana Rademaekers
                                    6                                                                                                                                      Law Offices of Iwana Rademaekers, P.C.
                                    7                                                                                                                                          14785 Preston Road, Suite 550
                                                                                                                                                                                      Dallas, TX 75254
                                    8                                                                                                                                               Main: (214) 579-9319
                                                                                                                                                                                     Fax: (465) 444-6456
                                    9
                                                                                                                                                                             Email: iwana@rademaekerslaw.com
                                   10
                                                                                                                                                                                 Kathleen McLeod Caminiti
1940 E. Camelback Road, Ste. 150




                                   11
 CALDWELL & OBER, P.L.L.C.




                                                                                                                                                                                    Fisher & Phillips LLP
                                                                                                                                                                                   430 Mountain Avenue
      Phoenix, AZ 85016




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                                                                                 7303 W. B O S T O N S T R E E T
                                                                                                                   C H A N D L E R , AZ 85226




                                                                                                                                                                                Murray Hill, New Jersey 07974
                                                                                                                                                (480) 705-7550




                                   13                                                                                                                                            Telephone: (908) 516-1050
                                   14                                                                                                                                                Fax: (908) 516-1051
                                                                                                                                                                                kcaminiti@laborlawyers.com
                                   15
                                   16
                                   17
                                   18                  By: s/ Erin Ronstadt

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                                   20
                                        (602) 277-1745COUNTERS & KOELBEL, P.C.




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